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AO 133          (Rev, 12/09) Bill of Costs


                                             UNITED STATES DISTRICT COURT
                                                                          for the
                                                         Middle District of Alabama

                              DAVITA M. KEY                                 )
                                                                            )
                      v.                                                    )       Case No.: 2:19-CV-767-ECM
         HYUNDAI MOTOR MANUFACTURING,                                       )
               ALABAMA, LLC, et al.                                         )

                                                                 BILL OF COSTS
Judgment having been entered in the above entitled action on                    02/09/2023          against    Davita M. Key
                                                                                    Date
the Clerk is requested to tax the following as costs:

Fees of the Clerk

Fees for service of summons and subpoena
Fees for printed or electronically recorded transcripts necessarily obtained for use in the case                                    4,636.10

Fees and disbursements for printing
Fees for witnesses (itemize on page two)                                                                                                 0.00

Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case

Docket fees under 28 U.S.C. 1923
Costs as shown on Mandate of Court of Appeals
Compensation of court-appointed experts
Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828
Other costs (please itemize)

                                                                                                              TOTAL      $           4,636.10

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

                                                                        Declaration
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:
                     Electronic service                           First class mail, postage prepaid
                     Other:
                s/ Attorney:
                          Name of Attorney: T. Matthew Miller
For:                                         HYUNDAI ENG AMERICA, INC.                                          Date:   3 0-.202.3
                                                  Name of Claiming Party

                                                                 Taxation of Costs
Costs are taxed in the amount of                                                                                 and included in the judgment.
                                                           310
                                                                  .10
                               Cledc of Court                                                                           40. .5Aop5
Trey
         Geri
                           Clerk of Court                                              Dept Clerk                              Date
